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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
KASIM KURD, et al.,                  )
                                     )
                  Plaintiffs,        )
                                     )
v.                                   )    Case No. 18-cv-1117-CKK-ZMF
                                     )
REPUBLIC OF TURKEY, et al.,          )
                                     )
                                     )
                  Defendant.         )
____________________________________)


                             DISCOVERY STANDING ORDER

       This matter has been referred to the undersigned for the management of discovery.

Accordingly, it is hereby

       ORDERED that no discovery-related motion may be filed unless the moving party has:

       1.      Attempted in good faith, but without success, to resolve the dispute, consistent with
               L. Civ. R. 7(m); and

       2.      Requested a pre-motion on-the-record telephone conference with the Court to
               discuss the dispute informally. See Fed. R. Civ. P. 16(b)(3)(B)(v). The procedure
               for requesting a pre-motion telephone conference is as follows:


               a.     Counsel shall notify opposing counsel of their intent to contact the Court’s
                      chambers to request a telephone conference at least 24 hours in advance of
                      any request.

               b.     Counsel requesting such a telephone conference shall check the availability
                      of all counsel and contact via email the Court’s law clerk, identified below,
                      with available dates and times for the telephone conference. The email shall
                      include a clear, concise description of the issues in dispute.

               c.     After a telephone conference has been scheduled, the Court will provide
                      instructions for access to the Court’s conference call system.
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             d.     No later than five business days in advance of the telephone conference, all
                    parties shall submit via email to the Court’s law clerk, and to opposing
                    parties, a brief position paper outlining the dispute(s) and the party’s
                    position on the disputed issues. The position papers should not be more than
                    2 pages in length. The parties shall file position papers on the Court’s docket
                    by the end of the day on which they are emailed to chambers. These
                    deadlines may be modified by order of the Court.

      3.     If the Court does not grant the request for a telephone conference, or if the
             conference fails to resolve the dispute, then upon approval of the Court, a discovery
             motion may be filed. Counsel are hereby notified that a party who does not prevail
             in a discovery dispute may be ordered to pay the costs involved, including
             reasonable attorney’s fees.



SO ORDERED.
                                                              Digitally signed
                                           Zia          by Zia M.Faruqui
                                           M.Faruqui    Date: 2025.03.17
                                                        16:03:53 -04'00'
                                           __________________________
Date: March 17, 2025                       ZIA M. FARUQUI
                                           UNITED STATES MAGISTRATE JUDGE

Assigned Law Clerk:
Victoria Sheber
202-354-3077
Victoria_Sheber@dcd.uscourts.gov




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